              Case 6:18-ap-00019-CCJ          Doc 1        Filed 03/07/18   Page 1 of 4



                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

IN RE:                                         )
                                               )
LELAWTIE BALGOBIND,                            )       CASE # 6:17-bk-02971-CCJ
                                               )
            Debtor.                            )       CHAPTER 7
_______________________/                       )
                                               )
RICHARD B. WEBBER II, TRUSTEE,                 )
                                               )
                Plaintiff.                     )       ADV. NO. 6:18-ap-
vs.                                            )
                                               )
LELAWTIE BALGOBIND,                            )
                                               )
            Defendant.                         )
_______________________/                       )

      TRUSTEE’S ADVERSARY PROCEEDING COMPLAINT TO DENY DEBTOR’S
          DISCHARGE PURSUANT TO §727 OF THE BANKRUPTCY CODE

         Plaintiff, Richard B. Webber II, as Trustee of the Estate of the above-named Debtor, sues

Debtor/Defendant, LELAWTIE BALGOBIND, seeking a denial of Debtor’s Discharge under

Section 727(a)(2)(B) of the Bankruptcy Code and in support thereof states as follows:

                                             PARTIES

         1.     The Debtor, LELAWTIE BALGOBIND (“Debtor”) filed a voluntary Chapter 13

Bankruptcy Petition on May 5, 2017.

         2.     The case was converted to Chapter 7 on December 11, 2017.

         3.     Plaintiff was appointed by the Court to act as Chapter 7 Trustee of the Estate, and in

so acting has authority to, and does, bring this action.

         4.     The Defendant, LELAWTIE BALGOBIND, is a resident of Orange, County, FL.
              Case 6:18-ap-00019-CCJ        Doc 1     Filed 03/07/18     Page 2 of 4



                                        JURISDICTION

        5.      Debtor’s Chapter 7 case is pending in the United States Bankruptcy Court in the

Middle District of Florida, Orlando Division, Case 6:17-bk-02971-CCJ.

        6. This proceeding is a “core proceeding” pursuant to 11 U.S.C. §157(b)(2)(F) and (H).

        7. This Court has jurisdiction pursuant to 28 U.S.C. §1334 and 28 U.S.C. §157.

        8. Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

                                             FACTS

        9.      Debtor owns real property located at 4422 Beagle Street, Orlando, FL 32818 PIN #

02-22-28-1831-03-080 (“Property”).

        10.     Debtor purchased the Property on May 31, 2005 and has been in default on the

payments and remains in default since October 1, 2008.

        11.     Mortgage Modification Mediation failed (Doc. # 44) and the Secured Lender,

SunTrust Bank, has filed a Motion for Relief from Stay (Doc. # 58) on the Property.

        12.     At the 341a Meeting of Creditors held on February 8, 2018, Trustee advised Debtor

and Debtor’s attorney that he would be working with the Secured Lender to short sell the Property

and provided a letter outlining same. A copy of the letter is attached hereto as Exhibit “A” and

incorporated by reference herein.

        13.     On February 22, 2018, this Court entered an Order approving the employment of

realtors Keller Williams Winter Park to sell the Property (Doc. # 66).

                                          COUNT I
                                    DENIAL OF DISCHARGE

        14. Plaintiff incorporates all of the foregoing paragraphs 1 through 13 herein by reference

as if set forth verbatim.
             Case 6:18-ap-00019-CCJ            Doc 1     Filed 03/07/18   Page 3 of 4



        15. Trustee brings this Adversary Proceeding pursuant to Section 727(a)(2)(B) of the

Bankruptcy Code.

        16. Trustee advised Debtor and Debtors attorney verbally and in writing regarding the

intention to sell the Property for the benefit of creditors.

        17. Debtor and Debtors attorney have failed to return phone calls and e-mail

communications with Trustee and realtor, Keller Williams, regarding access to the Property.

             WHEREFORE, Trustee believes the failure to communicate and allow access to the

Property by the Debtor and Debtors attorney is an attempt to conceal property of the Estate and to

delay and defraud this Estate post-petition, and therefore, Debtors’ discharge should be denied

pursuant to 11 U.S.C. §727(a)(2)(B).

        WHEREFORE, Trustee prays this honorable Court will enter a Final Judgment pursuant to

11 U.S.C. §727(a)(2)(B) denying Debtors discharge and for all other relief as is just and proper

under the circumstances of this Adversary Proceeding.

        DATED: March 7, 2018

                                                 /s/ Richard B Webber II
                                                Richard B Webber II, Trustee
                                                PO Box 3000
                                                Orlando, FL 32802-3000
                                                Phone: (407)563-4328
                                                E-mail: rwebber@zkslawfirm.com


       I HEREBY CERTIFY that a true and correct copy of the foregoing Complaint has been
furnished either by U. S. Mail, postage pre-paid and/or by electronic transmission to:
LELAWTIE BALGOBIND, 4422 Beagle Street, Orlando, FL 32818; STACEY D WILSON,
Wilson Legal Group, P.A., 7635 Ashley Park Ct., Suite 503-S, Orlando, FL 32835; and US
Trustee, 400 W. Washington St., Ste. 1100, Orlando, FL 32801, on March 7, 2018.


                                                 /s/ Richard B Webber II
                                                Richard B Webber II, Esquire
             Case 6:18-ap-00019-CCJ           Doc 1     Filed 03/07/18       Page 4 of 4

                                                      "A"
                                               
                                                                                           Reply To:
                                                                                       PO Box 3000
                                                                             Orlando, FL 32802-3000

                                          February 8, 2018

Lelawtie Balgobind
4422 Beagle Street
Orlando, FL 32818

Re:    Bankruptcy Case No. 6:17-bk-02971-CCJ
       Chapter 7 Bankruptcy

Dear Lelawtie Balgobind:

       As Trustee, I will be selling real property located at 4422 Beagle Street, Orlando, FL
32818. If this is your primary residence, you will need to vacant the premises within 30 days
from the date of this letter. If the property is occupied by a tenant, then the tenant must vacate
the property within 30 days.

       This letter authorizes and directs Wm. Paul Henderson II, or his assigns, from Keller
Williams Realty and BK Global Real Estate Services to do whatever is necessary to inspect,
secure and sell the real property located at 4422 Beagle Street, Orlando, FL 32818. This
includes access to the property for the purpose of acquiring room dimensions and pertinent
information, taking photographs and showing the property to potential buyers. Showings of the
property will include property open houses and showings by licensed Real Estate Agents.

       Unless specifically excluded the following items which are existing on the Property as of
the date on this letter are included in the sale and purchase: cabinetry, counter tops, HVAC
system, water heater, range(s)/oven(s), refrigerator(s), dishwasher(s), disposal, ceiling fan(s),
intercom, interior and exterior light fixture(s), blinds, smoke detector(s), fencing, decks, patios,
garage door opener(s), security gate and other access devices, storm shutters/panels and any
other permanently attached fixtures.

       Please be advised that pursuant to 11 U.S.C. §521(3) and (4), Debtors are to cooperate
with the Trustee and failure to do so can result in the denial of your discharge. Please govern
yourself accordingly.

                                       Sincerely,


                                       Richard B. Webber, II
                                       Chapter 7 Bankruptcy Trustee



                                                                                                    
                                                                                                    
             One Landmark Center, Suite 600      315 E. Robinson St      Orlando, FL 32801 
                 Phone 407‐425‐7010      Fax 407‐425‐2747      www.zkslawfirm.com 
